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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

: UNITED STATES OF AMERICA,
I
I
I        -v-                                             09-cr-1067 (JSR)
i
I
: SOHAIL KHAN,                                           ORDER
I
I
I              Defendant.
I
I
L __________________________ _


JED S. RAKOFF, U.S.D.J.:

      Before the Court is the motion of defendant Sohail Khan seeking

dismissal of the two-count indictment, which was filed under seal on

November 3,      2009 and unsealed following Khan's arrest at Chicago's

O'Hare International Airport on June 3, 2021. He argues that in view

of the period of eleven years and seven months that elapsed between

his indictment and arrest, the Government's continued prosecution of

this case would violate his right to a speedy trial under the Sixth

Amendment to the United States Constitution. The Court has carefully

considered the parties'            briefs,    declarations,        and presentations      at

argument,      and the Court assumes the parties'                 familiarity with this

case's facts and procedural history for the purposes of this short

order.

      As discussed at argument, there are two disputed factual issues

that both parties and the Court agree may be material to adjudicating

the   instant motion:       ( i)    whether       Khan   left    the   United   States   for

Pakistan in September 2004 to flee potential criminal charges and/or

whether he thereafter became aware of the charges and remained in


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Pakistan to avoid those charges; and (ii) whether it would have been

futile    for    the    Government   to   have   sought   Khan's   extradition   from

Pakistan. At argument, the Government asserted its position that the

motion should be denied even if the Court assumes arguendo that these

disputes        would    be   resolved     in    the   defendant's     favor.    Upon

consideration, however, the Court is of the view that, if both those

factual disputes were resolved in defendant's favor,                 it would likely

grant the motion, but if they were resolved in the Government's favor,

it would likely deny the motion.

     The Court therefore sees no alternative but to hold an evidentiary

hearing    on the       disputed issues.    Counsel    are therefore    directed to

jointly call Chambers no later than this Wednesday, October 20,                  2021

at 5 p.m. to schedule the evidentiary hearing.

     SO ORDERED.

New York, NY
October 19, 2021




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